       Case 1:23-cv-10233-ADB          Document 133       Filed 05/16/25      Page 1 of 31




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                 *
    DECKERS OUTDOOR CORPORATION,                 *
                                                 *
                Plaintiff,                       *
                                                 *
                v.                               *
                                                 *   Civil Action No. 1:23-cv-10233-ADB
                                                 *
    PRIMARK US CORP.,                            *
                                                 *
                Defendant.                       *
                                                 *
                                                 *



                               MEMORANDUM AND ORDER

BURROUGHS, D.J.

        Plaintiff Deckers Outdoor Corporation (“Deckers” or “Plaintiff”) initiated this action

alleging trade dress infringement, unfair and deceptive trade practices, and unfair competition

against Defendant Primark US Corp. (“Primark” or “Defendant”). [ECF No. 1 (“Compl.” or

“Complaint”)]. 1 Currently pending before the Court is Defendant’s motion for summary

judgment. [ECF No. 73]. The Court concurrently is considering both parties’ motions in limine

to exclude expert testimony. [ECF Nos. 66, 68, 69, 71, 72]. For the reasons set forth below, all

of the motions in limine are DENIED, except with regard to Caroline de Baere and Antonio

Sarabia, [ECF Nos. 68 and 71] which are GRANTED in part and DENIED in part, and

Defendant’s motion for summary judgment is DENIED.




1
 Plaintiffs originally brought a patent infringement claim under 35 U.S.C. § 271, [Compl. ¶¶ 53–
60], but the parties stipulated to its dismissal on July 14, 2023. [ECF No. 31].
        Case 1:23-cv-10233-ADB          Document 133        Filed 05/16/25       Page 2 of 31




I.       BACKGROUND

             A. Material Facts 2

         Plaintiff is a footwear company that has been designing and selling footwear since 1975.

  [ECF No. 90 ¶ 52]. Plaintiff is the maker of the UGG® Classic Ultra Mini shoe, which was first

  introduced for sale in the United States in July 2020. [ECF No. 90 ¶¶ 5, 23]. This shoe is

  typically sold at retail for approximately $150 per unit. [ECF No. 90 ¶ 78].

         Defendant is an Irish company that operates Primark stores globally, including twenty-

  four stores in the United States. [ECF No. 104 ¶ 81]. Primark stores only sell Primark products.

  [ECF No. 90 ¶ 44]. Included among these is the Primark Tan Faux Suede Mini Boot. [ECF No.

  90 ¶ 6]. This shoe was first sold in the United States in August 2021, [ECF No. 90 ¶ 35], and

  was sold in all of Primark’s United States stores, [ECF No. 104 ¶ 83].

             B. Procedural History

         On January 30, 2023, Plaintiff brought suit against Defendant for trade dress

  infringement, unfair competition, and patent infringement on the basis that the Primark Tan Faux

  Suede Mini Boot infringed on the UGG® Classic Ultra Mini Trade Dress (“Classic Ultra Mini

  Trade Dress” or “Asserted Trade Dress”). [ECF No. 90 ¶¶ 1–3; see generally Compl.]. The

  Asserted Trade Dress is alleged to have the following elements:

         a. An ankle-high boot;
         b. Classic suede boot styling;
         c. An exaggerated, raised and exposed circular stitch pattern;
         d. Exposed tufting;
         e. A raised and rounded vamp;
         f. A suede heel overlay on the boots exterior;


  2
    The Court draws the facts, unless otherwise stated, from the parties’ combined Rule 56.1
  statements of facts, which are (1) Plaintiff’s responses to Defendant’s Statement of Material
  Facts [ECF No. 90] and (2) Defendant’s responses to Plaintiff’s Statement of Additional Facts,
  [ECF No. 104], as well as documents referenced therein and, where necessary, the record.
                                                     2
      Case 1:23-cv-10233-ADB          Document 133         Filed 05/16/25    Page 3 of 31




       g. Fabric binding along the top of the boot and along the sole;
       h. A thick, flat sole; and
       i. A top line that is higher in the front and lower in the back.

[ECF No. 90 ¶ 3]. Moreover, Plaintiff alleges that the trade dress embodied the UGG Classic

Ultra Mini boot, as displayed in the following images:




[Compl. ¶ 21]. Defendant filed an answer and counterclaims on April 7, 2023. [ECF No. 15].

Plaintiff’s motion to strike Defendant’s affirmative defenses and dismiss its counterclaims was

filed on April 28, 2023, [ECF No. 26] and denied on December 7, 2023. [ECF No. 41]. The

parties stipulated to dismissal of the patent infringement claim on July 14, 2023. [ECF No. 31].

Plaintiff filed an answer to Defendant’s counterclaims on April 1, 2024. [ECF No. 45]. On

September 4, 2024, Defendant moved for summary judgment and filed two motions in limine to

exclude Plaintiff’s expert witnesses. [ECF Nos. 55, 57, 59]. Defendant withdrew these motions

[ECF No. 65], and refiled them on November 4, 2024, [ECF Nos. 66, 68, 73]. On the same day,

Plaintiff filed three motions in limine to exclude Defendant’s experts. [ECF Nos. 69, 71, 72].

Plaintiff opposed summary judgment and the exclusion of its experts, [ECF Nos. 87, 89], and

Defendant opposed the exclusion of its experts on December 9, 2024, [ECF Nos. 84, 85, 86].

Defendant filed a reply to Plaintiff’s opposition to summary judgment on December 23, 2024.

[ECF No. 103]. Plaintiff filed an omnibus reply to Defendant’s opposition to the exclusion of
                                                 3
       Case 1:23-cv-10233-ADB           Document 133        Filed 05/16/25      Page 4 of 31




their experts on December 31, 2024, [ECF No. 113], and Defendant filed replies to Plaintiff’s

opposition to the exclusion of their experts on January 3, 2025, [ECF Nos. 120, 121].

 II.    LEGAL STANDARD

           A. Admissibility of Expert Testimony

        The admissibility of expert testimony is governed by Federal Rule of Evidence 702 and

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). Federal Rule of Evidence 702

provides that a person

        who is qualified as an expert by knowledge, skill, experience, training, or education
        may testify in the form of an opinion or otherwise if[:]

        (a) the expert’s scientific, technical, or other specialized knowledge will help the
            trier of fact to understand the evidence or to determine a fact in issue;

        (b) the testimony is based on sufficient facts or data;

        (c) the testimony is the product of reliable principles and methods; and

        (d) the expert’s opinion reflects a reliable application of the principles and methods
            to the facts of the case.

Fed. R. Evid. 702.

        “Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 113 S.Ct. 2786, 125 L. Ed. 2d 469 (1993), trial judges must act as gatekeeper to

‘insur[e] that the fact-finding process does not become distorted by expertise that is fausse and

science that is junky.’” Neural Magic, Inc. v. Meta Platforms, Inc., 659 F. Supp. 3d 138, 152 (D.

Mass. 2023) (alterations in original) (internal quotation marks omitted) (quoting Fed. Ins. Co. v.

Pentair Residential Filtration, LLC, No. 12-cv-10853, 2013 WL 6145531, at *3 (D. Mass. Nov.

21, 2013)). “[J]udge[s] must . . . determine whether the witness is sufficiently qualified by

‘knowledge, skill, experience, training, or education’ to give his proffered opinion.” Id. (quoting

Fed. Ins. Co., 2013 WL 6145531, at *3). “If the witness is deemed qualified, the judge must
                                                  4
      Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25      Page 5 of 31




next determine whether the specific testimony offered in the case ‘both rests on a reliable

foundation and is relevant to the task at hand.’” Id. (quoting In re Nexium (Esomeprazole)

Antitrust Litig., 842 F.3d 34, 52 (1st Cir. 2016)). “The reliable foundation requirement

necessitates an inquiry into the methodology and the basis for an expert’s opinion.” Id. (quoting

Samaan v. St. Joseph Hosp., 670 F.3d 21, 31 (1st Cir. 2012). “The relevancy requirement ‘seeks

to ensure that there is an adequate fit between the expert’s methods and his conclusions’ by

determining whether the expert’s conclusions ‘flow rationally from the methodology

employed.’” Id. (quoting Samaan, 670 F.3d at 32). “[A] court may exclude an expert’s opinion

when it is based upon conjecture or speculation deriving from an insufficient evidentiary

source.” E.E.O.C. v. Tex. Roadhouse, Inc., 215 F. Supp. 3d 140, 158 (D. Mass. 2016).

       “A trial setting normally will provide the best operating environment for the triage

which Daubert demands. . . . [G]iven the complex factual inquiry required by Daubert, courts

will be hard-pressed in all but the most clearcut cases to gauge the reliability of expert proof on a

truncated record. Because the summary judgment process does not conform well to the

discipline that Daubert imposes, the Daubert regime should be employed only with great care

and circumspection at the summary judgment stage.” Cortés-Irizarry v. Corporación Insular de

Seguros, 111 F.3d 184, 188 (1st Cir. 1997).

           B. Summary Judgment

       Summary judgment is appropriate where the moving party can show “that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). When reviewing the record, the Court “must take the evidence in

the light most flattering to the party opposing summary judgment, indulging all reasonable

inferences in that party’s favor.” Cochran v. Quest Software, Inc., 328 F.3d 1, 6 (1st Cir. 2003).

                                                  5
      Case 1:23-cv-10233-ADB           Document 133        Filed 05/16/25      Page 6 of 31




The First Circuit has noted that this standard “is favorable to the nonmoving party, but it does not

give him a free pass to trial.” Hannon v. Beard, 645 F.3d 45, 48 (1st Cir. 2011). Instead, “[t]he

factual conflicts upon which he relies must be both genuine and material,” Gomez v. Stop &

Shop Supermarket Co., 670 F.3d 395, 397 (1st Cir. 2012), and the Court may discount

“conclusory allegations, improbable inferences, and unsupported speculation,” Cochran, 328

F.3d at 6 (quoting Medina-Munoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990)).

“A fact is material if its resolution might affect the outcome of the case under the controlling

law.” Cochran, 328 F.3d at 6. “A genuine issue exists as to such a fact if there is evidence from

which a reasonable trier could decide the fact either way.” Id.

       Thus, “[t]o succeed in showing that there is no genuine dispute of material fact,” the

moving party must point to “specific evidence in the record that would be admissible at trial.”

Ocasio-Hernández v. Fortuño-Burset, 777 F.3d 1, 4 (1st Cir. 2015). “That is, it must

‘affirmatively produce evidence that negates an essential element of the non-moving party’s

claim,’ or, using ‘evidentiary materials already on file . . . [that] demonstrate that the non-moving

party will be unable to carry its burden of persuasion at trial.’” Id. at 4–5 (quoting Carmona v.

Toledo, 215 F.3d 124, 132 (1st Cir. 2000)). The moving party may also point to the “absence of

evidence to support” an essential element of “the nonmoving party’s case.” Celotex Corp. v.

Catrett, 477 U.S. 317, 325 (1986). “One of the principal purposes of the summary judgment rule

is to isolate and dispose of factually unsupported claims or defenses . . . .” Id. at 323–24. “Once

the movant takes [the] position” that “the record before the court fails to make out a trialworthy

question of material fact,” it becomes “the burden of the nonmoving party to proffer facts

sufficient to rebut the movant’s assertions.” Nansamba v. N. Shore Med. Ctr., Inc., 727 F.3d 33,

40 (1st Cir. 2013).

                                                 6
      Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25       Page 7 of 31




           C. Trade Dress

       Plaintiff seeks relief under the Lanham Act § 43(a), which states:

       Any person who, on or in connection with any goods or services . . . uses in
       commerce any word, term, name, symbol, or device . . . which . . . is likely to cause
       confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
       association of such person with another person, or as to the origin, sponsorship, or
       approval of his or her goods, services, or commercial activities by another person,
       or in commercial advertising or promotion, misrepresents the nature,
       characteristics, qualities, or geographic origin of his or her or another person’s
       goods, services, or commercial activities . . . shall be liable in a civil action by any
       person who believes that he or she is or is likely to be damaged by such act.

15 U.S.C. § 1125(a)(1)(A) & (B). “To establish a claim for infringement of an unregistered

mark under section 43(a) of the Lanham Act, [a plaintiff] ‘must demonstrate both that its mark

merits protection and that the allegedly infringing use is likely to result in consumer confusion.’”

Unleashed Doggie Day Care, LLC v. Petco Animal Supplies Stores, Inc., No. 10-cv-10742, 2011

WL 6812642, at *3 (D. Mass. Dec. 28, 2011) (quoting Borinquen Biscuit Corp. v. M.V. Trading

Corp., 443 F.3d 112, 116 (1st Cir. 2006)).

       The Supreme Court has extended § 43(a) protection to “trade dress.” Two Pesos, Inc. v.

Taco Cabana, Inc., 505 U.S. 763, 770–71 (1992). “Trade dress has been defined as ‘the design

and appearance of [a] product together with the elements making up the overall image that serves

to identify the product presented to the consumer.’” Chrysler Corp. v. Silva, 118 F.3d 56, 58 (1st

Cir. 1997) (quoting Fun-Damental Too, Ltd. v. Gemmy Indus. Corp., 111 F.3d 993, 999 (2d Cir.

1997) (alteration in original)). To establish trade dress infringement specifically, “a plaintiff

must demonstrate that (1) the trade dress has been used in commerce, (2) the trade dress is

nonfunctional, (3) the trade dress is inherently distinctive or has acquired distinctiveness through

secondary meaning, and (4) that prospective purchasers of the products in question are likely to




                                                  7
       Case 1:23-cv-10233-ADB          Document 133        Filed 05/16/25      Page 8 of 31




be confused as to the source of the products.” Annalee Mobilitee Dolls, Inc. v. Townsend

Design Studios, Inc., No. 03-cv-00327, 2003 WL 22901680, at *9 (D.N.H. Dec. 9, 2003).

        State law claims are largely evaluated under the same analysis as the Lanham Act claim.

Birkenstock US BidCo, Inc. v. White Mountain Int’l LLC, 747 F. Supp. 3d 292, 303 (D. Mass.

2024) (“[T]he standard for a trade dress claim under Massachusetts common law is

indistinguishable from the Lanham Act claims.” (internal quotations and alterations omitted));

Santander Consumer USA Inc. v. Walsh, 762 F. Supp. 2d 217, 225 (D. Mass. 2010) (“The same

likelihood of confusion standard applies to the unfair competition . . . claim[].”); Venture Tape

Corp. v. McGills Glass Warehouse, 540 F.3d 56, 61 n.6 (1st Cir. 2008) (“Venture’s unfair

competition claim . . . [is] subject to the same legal standard—namely, ‘likelihood of

confusion’—as its Count 1 infringement claim”); FabriClear, LLC v. Harvest Direct, LLC, 651

F. Supp. 3d 406, 412 (D. Mass. 2023), reconsideration denied, No. 20-cv-10580, 2023 WL

2407401 (D. Mass. Feb. 6, 2023), appeal docketed, No. 25-1081 (1st Cir. Jan. 23, 2025)

(granting summary judgment on 93A claim “[f]or similar reasons” as the Lanham Act claim

where the 93A claim was “premised on the same theory as its federal Lanham Act claim”).

III.    DISCUSSION

        Defendant moves for summary judgment on all counts asserted in the Complaint

including federal trade dress infringement (Count I), common law trade dress infringement

(Count II), unfair and deceptive trade practices (Count III), and unfair competition (Count IV).

See generally [ECF Nos. 73, 74]. To address this motion, the Court must first turn to the

Daubert motions. See Facey v. Dickhaut, 91 F. Supp. 3d 12, 21 (D. Mass. 2014) (“There are two

other pending motions that affect the information the court may consider in deciding the motion




                                                 8
      Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25      Page 9 of 31




for summary judgment. Therefore, they are being decided before the court addresses the motion

for summary judgment.”).

           A.      Admissibility of Experts

       At issue is the admissibility of the testimony of five different experts: Plaintiff’s experts

Matthew G. Ezell and Caroline de Baere, and Defendant’s experts Lenny Holden, Antonio R.

Sarabia II, and Robert Griffin Wallace, Jr. See [ECF Nos. 66, 68, 69, 71, 72].

                       1.      Matthew G. Ezell

       Plaintiff submitted the expert report of Matthew G. Ezell (“Ezell”), which primarily rests

on two consumer surveys intended to establish the “secondary meaning” and “likelihood of

confusion” regarding the UGG Classic Ultra Mini Trade Dress. See generally [ECF No. 67-1].

Ezell provides marketing consulting and research services, and has worked on trademark and

trade dress matters for approximately 23 years. [Id. ¶ 21].

       Defendant argues for exclusion solely on the basis of the surveys themselves, rather than

Ezell’s qualifications: specifically, that the surveys do not represent the proper survey universe,

that the methodologies of the surveys are flawed and unreliable, and that the secondary meaning

survey does not focus on the relevant timeframe. [ECF No. 67 at 10]. Plaintiff counters that the

methods were reliable, the survey universes were appropriate, and the secondary meaning survey

is focused on the appropriate time frame. [ECF No. 92 at 8–24].

       The secondary meaning survey consisted of 400 interviews of females 18 years of age

and over “who had either purchased a pair of boots for casual wear in the past year, or were

likely to purchase a pair of boots for casual wear in the next year.” [ECF No. 67-1 ¶¶ 4, 12].

The survey used an experimental design consisting of two survey cells, a “test” cell and a

“control” cell. [Id. ¶ 13]. The test cell was purportedly designed to measure the secondary

                                                 9
       Case 1:23-cv-10233-ADB          Document 133        Filed 05/16/25       Page 10 of 31




meaning of the appearance of the UGG Classic Ultra Mini boot. [Id.] The control cell, by

contrast, was designed to measure the extent of potential mismeasurement error in the survey

results. [Id.] The test cell image was of the UGG Classic Ultra Mini. [Id. ¶ 5]. The control cell

image was a different boot that did not contain elements of the Classic Ultra Mini trade dress.

[Id.] Ezell’s survey found that 73% of the “relevant universe” associate the appearance of the

Classic Ultra Mini boot with UGG or a single anonymous source. [Id. ¶ 19].

        Defendant has several critiques of Ezell’s secondary meaning survey. [ECF No. 67].

Specifically, it argues that each of the following flaws rigged the results in favor of Deckers, [id.

at 21–25]: (1) the survey population was improperly narrowed because it excluded men, [id. at

11–12]; (2) the secondary meaning survey improperly tested the time period after infringement,

[id. at 14–15]; (3) the survey did not test the asserted trade dress, which it purports does not

match the actual Classic Ultra Mini boot, 3 [id. at 15–18]; (4) the survey improperly limits

whether individuals were able to associate the test image with more than one brand, [id. at 18–

21].

        The likelihood of confusion survey used the same survey universe as the secondary

meaning survey, and had 400 participants. See [ECF No. 67-2 ¶ 15]. It used the so-called Ever-




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  The argument that the Classic Ultra Mini Trade Dress does not describe the UGG Classic Mini
Ultra boot permeates Defendant’s briefing on all the motions at issue. With regard to the
testimony of Ezell, this issue ultimately goes to the relevance of the surveys, rather than their
methodology. If the Trade Dress does not embody the UGG Classic Ultra Mini boot, then
surveys testing the secondary meaning and likelihood of confusion of the boot would not be
relevant to the validity of the Trade Dress, even if conducted according to appropriate standards.
And, as discussed infra, this is also a dispositive issue on Defendant’s liability, because
Defendant cannot be liable if the jury finds that the Trade Dress does not describe the product at
issue as the first requirement of a Trade Dress claim is that the asserted trade dress describes a
product in commerce. See Annalee Mobilitee Dolls, Inc., 2003 WL 22901680, at *9. The Court
will therefore allow the testimony as conditionally relevant.
                                                  10
     Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25      Page 11 of 31




Ready survey methodology, 4 which also consisted of the test and control cells. [Id. ¶¶ 11, 24].

The test cell was designed to “measure the degree, if any, to which consumers are likely to be

confused by the mistaken belief that Defendant’s Primark boots are sold by, have the

authorization or approval of, or have a business affiliation or business connection with Plaintiff.”

[Id. ¶ 10]. It first asked participants who they believed the manufacturer of the boots was and

why. [Id. ¶ 20]. It then asked what other brands make the boots and why. [Id. ¶ 21]. Survey

Respondents were asked “whether they believed that whoever makes or puts out the boot shown

has the authorization or approval of any other company(s) or brand(s), and if so, what

company(s) or brand(s)” and why. [Id. ¶ 22]. Finally, survey respondents were asked “whether

they believed that whoever makes or puts out the boot shown has a business affiliation or

business connection with any other company(s) or brand(s), and, if so, with what company(s) or

brand(s)” and why. [Id. ¶ 23].

       Defendant likewise raised several issues with Ezell’s likelihood of confusion survey. It

again argues that the universe of respondents was incorrectly limited. [ECF No. 67 at 10].

Moreover, it argues that the survey improperly limited respondents to selecting one

manufacturer, rather than allowing them to identify multiple brands that they associate with the

image, therefore assuming that a respondent who names only a single source in response to a

product only associates a single source with that product. [Id. at 22]. Finally, it argues that the

survey did not establish why a respondent would identify UGG as the brand source. [Id. at 25].




4
  This is a survey method that comes from Union Carbide Corp. v. Ever-Ready Inc., 531 F.2d
366, 387 (7th Cir. 1976) and involves a particular series of questions asked to ascertain
likelihood of confusion. 5 McCarthy on Trademarks and Unfair Competition § 32:174 (5th ed.).
“The Eveready survey format is widely regarded as an appropriate method of testing for
likelihood of confusion.” Id.
                                                11
        Case 1:23-cv-10233-ADB         Document 133         Filed 05/16/25       Page 12 of 31




Ultimately, Defendant concludes that, as with the secondary meaning survey, these problems

tilted the balance of the survey in favor of Deckers and therefore skewed the statistical results.

[Id.]

         The Court disagrees with the Defendant that the methodological issues raised, merit the

exclusion of Ezell’s surveys. As the Court has stated, “[a] trial setting normally will provide the

best operating environment for the triage which Daubert demands.” Cortés-Irizarry, 111 F.3d at

188. More specifically, even assuming the validity of all of the methodological issues raised by

Defendant, these go more to the weight of the evidence rather than requiring its exclusion. See

Rimowa Distrib., Inc. v. Travelers Club Luggage, Inc., 217 F. Supp. 3d 400, 409–10 (D. Mass.

2016) (refusing to dismiss the expert’s “results altogether” but not giving them “definitive

weight” due to “doubts whether the participants fairly represent a relevant segment of the

consumer market”); Bern Unlimited, Inc. v. Burton Corp., 95 F. Supp. 3d 184, 203 (D. Mass.

2015) (“Bern contends that Simonson’s expert report on secondary meaning is irrelevant because

it was taken in 2014, and not at the time of first infringement. . . . Under Bern’s theory, a

company would have to undertake a preemptive survey prior to the time they allegedly first

infringe, or the survey evidence would not be admissible. Such a requirement would be absurd

. . . . Thus, courts have routinely admitted such evidence and examined the timing to determine

the strength of the evidence.”). Even when the “survey has a number of shortcomings . . . [that]

may have been suggestive, . . . ‘issues of methodology, survey design, reliability, . . . [and]

critique of conclusions’ . . . ‘go to the weight of the survey rather than its admissibility.’”

Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgmt., Inc., 618 F.3d 1025, 1037–38

(9th Cir. 2010) (second alteration in original) (quoting Clicks Billiards Inc. v. Sixshooters, Inc.,

251 F.3d 1252, 1263 (9th Cir. 2001)). None of the purported methodological flaws, even if

                                                  12
     Case 1:23-cv-10233-ADB           Document 133        Filed 05/16/25      Page 13 of 31




Defendant is correct that they are indeed flaws, are significant enough to render the expert

testimony inadmissible.

       Defendant cites two cases in which Ezell’s surveys were excluded from litigation as

evidence that the Court should do so here. [ECF No. 67 at 10]. These cases are substantially

different factually, and the specific errors cited are inapplicable. In Deckers Outdoor Corp. v.

Wal-Mart Stores, Inc., No. 20-cv-09521, 2024 WL 2208099, at *9 (C.D. Cal. Apr. 9, 2024), the

product at issue was a “slipper and sandal” hybrid that was a “platform, sling back slide.”

Ezell’s consumer universe was limited to those only who had or intended to purchase a pair of

slippers costing approximately $50 or more, confusing the survey because of the ambiguous

nature of the shoe at issue. Id. (emphasis added). There is no dispute here that the products at

issue are boots, 5 and therefore the Wal-Mart court’s reasoning is inapplicable. Similarly,

Vineyard House, LLC v. Constellation Brands U.S. Operations, Inc., 515 F. Supp. 3d 1061, 1072

(N.D. Cal. 2021), involved a very specific factual situation where the mark concerned a “very

narrow group of individuals,” specifically consumers of ultra-luxury Napa wines, and the survey

universe was not properly limited to that narrow group. Id. The Court need not decide if UGG

is as well-known as “Apple, Coca-Cola, or EverReady,” id., to determine that the concerns in

Vineyard House are absent here.

       For these reasons, the Defendant’s Motion to Exclude the expert opinion of Matthew

Ezell [ECF No. 66] is DENIED.




5
  Defendant’s expert Antonio Sarabia discusses extensively whether the UGG Ultra Classic Mini
boot is a “boot” or a “bootie.” [ECF No. 74-3 at 10–13]. This is not discussed in Defendant’s
briefing of its motion in limine regarding Ezell or its motion for summary judgment, and
therefore the Court does not believe that this case is akin to Wal-Mart.
                                                 13
     Case 1:23-cv-10233-ADB            Document 133         Filed 05/16/25       Page 14 of 31




                       2.      Caroline de Baere

       Plaintiff has also submitted an expert report of Caroline de Baere (“de Baere”). [ECF

No. 74-7]. De Baere has thirty-seven years of experience in the footwear industry and is

purportedly skilled in “trend research, footwear design, product development and manufacturing,

merchandising, market analysis, product purchasing, and sales management.” [Id. at 4]. She has

opined that (1) the UGG Classic Ultra Mini Trade Dress is comprised of a combination of non-

functional elements; (2) there are numerous design alternatives available; (3) the Asserted Trade

Dress has acquired secondary meaning; (4) there are no reasons for Primark’s design choices

other than intentional copying; and (5) these conclusions all inexorably lead to a finding of

infringement. [Id. at 7–9].

       Defendant argues that de Baere should be excluded on several grounds relating to her

qualifications. Namely, that (1) she is biased, [ECF No. 70 at 10]; (2) she is unqualified to opine

on infringement, likelihood of consumer confusion, or secondary meaning because they are

conclusions of law, [Id. at 11–13]; and (3) she is unqualified to opine on consumer perception,

secondary meaning, and damages as a footwear expert. [Id. at 13–15].

       As with Ezell, some of Defendant’s issues with de Baere go to the weight of her

testimony and her credibility, rather than to admissibility. For one, an expert’s “alleged bias is

not a basis to exclude [her]. . . . At most, an expert’s bias goes to the weight or credibility of

[her] testimony.” Integrated Commc’ns & Techs., Inc. v. Hewlett-Packard Fin. Servs. Co., 478

F. Supp. 3d 126, 141 (D. Mass. 2020) (citations omitted). De Baere’s opinions on secondary

meaning, likelihood of confusion, and damages as set forth in her report, moreover, are limited in

scope and supported by her experience. For example, she states that the UGG brand has

achieved goodwill and that the infringement has caused damage to the UGG brand. She does not

                                                  14
     Case 1:23-cv-10233-ADB              Document 133     Filed 05/16/25      Page 15 of 31




attempt to quantify damages, but simply identifies that infringement can damage goodwill, an

opinion which could reasonably be formed by someone with decades of expertise in footwear

and accessory branding. [ECF No. 74-7 at 88–89]. Likewise, her opinions on secondary

meaning and likelihood of confusion are supported by the vast materials she has looked at

combined with her experience. Therefore, de Baere will not be excluded on these bases.

       The First Circuit has held however, that “[e]xpert testimony that consists of legal

conclusions cannot properly assist the trier of fact.” Nieves-Villanueva v. Soto-Rivera, 133 F.3d

92, 100 (1st Cir. 1997) (quotation omitted). “[A]lthough experts may provide opinions on

ultimate factual conclusions, they are not permitted to offer an opinion on an ultimate legal

conclusion.” Mr. Doe v. Portland Pub. Schs., No. 20-cv-00461, 2022 WL 2755163, at *6 (D.

Me. July 14, 2022) (citing Nieves-Villanueva, 133 F.3d at 100). Therefore, de Baere’s opinion

that Defendant’s product infringes on Plaintiff’s trade dress, see Epic Metals Corp. v. Souliere,

99 F.3d 1034, 1037 (11th Cir. 1996) (“[t]o determine whether trade dress has been infringed is a

question of law”), will be excluded. 6

       Beyond her qualifications, Defendant also disputes de Baere’s methodology. First, it

notes her reliance on Ezell’s surveys, which it argues are unreliable and therefore render her

opinions unreliable. [ECF No. 70 at 16–17]. Second, it argues that her opinions on secondary

meaning are unreliable because the Asserted Trade Dress does not match the product de Baere

discusses, and further, that she improperly relies on advertising evidence from outside of the



6
  In contrast, secondary meaning and likelihood of confusion are factual questions. See Vision
Sports, Inc. v. Melville Corp., 888 F.2d 609, 614 (9th Cir. 1989) (holding that whether a trade
dress has acquired secondary meaning is a question of fact); Gruma Corp. v. Mexican Rests.,
Inc., 497 F. App’x 392, 395 (5th Cir. 2012) (“The issue of likelihood of confusion is generally a
fact question.”). Therefore, her conclusions on these issues need not be excluded on this basis.

                                                15
        Case 1:23-cv-10233-ADB          Document 133       Filed 05/16/25      Page 16 of 31




U.S. and about different Deckers’ products beyond the one at issue here. 7 [Id. at 17–19]. Third,

Deckers asserts that her opinion on the likelihood of consumer confusion is flawed because she

relied on incorrect information about Primark’s channels of trade and had an insufficient basis to

infer intentional copying. [Id. at 19–22].

          Flowing from the Court’s analysis regarding the admissibility of Ezell’s testimony, the

extent to which her opinions rest on his surveys goes to the weight to be afforded to her opinions

rather than to their admissibility. With regards to her evaluation of other evidence of secondary

meaning, Defendant ignores that de Baere’s report includes an analysis of significant volumes of

data such as sales data, media coverage, and thousands of customer reviews that can serve as

indirect evidence of secondary meaning. [ECF No. 89-5 at 26, 66]. Finally, de Baere’s analysis

of Defendant’s intent is based solely on her determination about the products themselves based

on her experience. [Id. at 87]. Her methodology, given her experience in the field, is sufficiently

reliable to be admitted, and the factfinder may assign it whatever weight it deems appropriate.

          Finally, Defendant has presented uncontradicted evidence that it does not use multiple

channels of trade. [ECF No. 70-2 at 11:21–24, 64:21–23]. Given that de Baere’s conclusions

regarding whether the two companies have the same channels of trade is incorrect, this portion of

her testimony will be excluded.

          The Court therefore DENIES the motion to exclude de Baere [ECF No. 68] except

insofar as it GRANTS the motion to strike her opinion as to whether infringement occurred and

as to Primark’s channels of trade.




7
    See supra note 4.
                                                  16
         Case 1:23-cv-10233-ADB         Document 133        Filed 05/16/25      Page 17 of 31




                         3.      Lenny M. Holden

          Defendant offers Lenny M. Holden (“Holden”) as an expert in fashion design to outline

the similarities and differences between the Classic Ultra Mini Trade Dress, the UGG Classic

Ultra Mini shoe, and Primark’s Tan Faux Suede Mini shoe. [ECF No. 74-1 ¶ 2]. Holden is an

expert in the “design, development, and manufacturing segments” of the “shoe business.” [Id. ¶

4]. His testimony consists of descriptions of the differences between elements of the Classic

Ultra Mini Trade Dress and the Tan Faux Suede Mini, as well as a description comparing the

Classic Ultra Mini Trade Dress to other products on the market. See generally [id.]

          Plaintiff raises two objections to the admission of Holden’s testimony: (1) that his

analysis violates the “anti-dissection” rule regarding the evaluation of trade dress, meaning that

his opinion looks at the relevant products and trade dress too granularly, instead of evaluating the

overall impression of the products at issue, [ECF No. 69-1 at 10–12]; and (2) that Holden’s

report is irrelevant because it addresses the wrong type of potential consumer confusion, [id. at

13]. 8

          The Court finds that these concerns are not a sufficient basis to exclude Holden’s

testimony. Evidence analyzing the individual elements of the purported trade dress is likely to

be helpful to a jury. Sanho Corp. v. Kaijet Tech. Int’l Ltd., No. 18-cv-05385, 2024 WL

3331657, at *3 (N.D. Ga. Jul. 8, 2024). Plaintiff is free to provide its own evidence of the

overall impression of the products at issue. Moreover, Defendant correctly asserts that Plaintiff’s

experts present facts relevant to multiple theories of likelihood of consumer confusion. See

[ECF No. 74-7 at 83 (de Baere report addressing factors relating to all theories of likelihood of



8
  The different types of consumer confusion that can be proved are discussed at greater length
infra.
                                               17
     Case 1:23-cv-10233-ADB            Document 133         Filed 05/16/25      Page 18 of 31




confusion)]. Defendant is therefore entitled to present rebuttal evidence on that basis. See

Girard v. Dir., Off. of Workers’ Comp. Programs, U.S. Dep’t of Lab., 16 F.3d 416, at *2 n.4

(10th Cir. 1993) (unpublished table decision) (“[A] party has a right to rebut adverse evidence.”).

Plaintiff’s motion in limine to exclude Lenny Holden [ECF No. 69] is DENIED.

                       4.      Antonio R. Sarabia II

       Defendant seeks to use Antonio R. Sarabia II (“Sarabia”) as an expert in fashion and

trade dress. Sarabia is a former fashion executive and currently “advise[s] companies on

whether new designs for trade dress, fabric prints, labels, tags, and decorative stitching are

sufficiently different from their sources of inspiration to be original.” [ECF No. 74-3 at 6–7].

       Plaintiff moves to exclude Sarabia on several grounds. Specifically, it argues that (1) he

is unqualified as an expert, [ECF No. 71-1 at 7–9]; (2) his methodology in comparing the

Asserted Trade Dress to Defendant’s product is not sufficiently rigorous and addresses the

elements of the asserted Trade Dress too granularly, [id. at 10–11, 16–17]; and (3) his test for

secondary meaning is contrary to the law, [id. at 12–16].

       In reviewing this motion, the Court finds the Northern District of Georgia’s decision in

Sanho Corp. v. Kaijet evaluating Sarabia’s expert testimony in a trade dress matter to be

instructive. First, like the Sanho court, the Court agrees that Sarabia is qualified as an expert. 9

He has decades of experience in advising companies on trade dress and trademark matters. See

Sanho, 2024 WL 3331657, at *1 (“Sarabia’s 35-year experience in the development and

protection of visual design elements qualifies him as an expert on issues . . . relating to the

protectability of visual design elements.”). The Court likewise agrees that Sarabia’s testimony



9
  As discussed infra, this is limited to his expertise on protectability of design elements, not legal
issues.
                                                   18
     Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25      Page 19 of 31




regarding visual differences between the two boots at issue here is helpful, especially given his

background. See id., at *2 (citing United States v. Brown, 415 F.3d 1257 (11th Cir. 2005) (for

the proposition that testimony is admissible where “the expert’s analysis relies solely on visual

comparisons between the objects, combined with the expert’s knowledge of the relevant field”)).

       Notably, the Sanho court excluded Sarabia’s testimony regarding his self-created test for

secondary meaning. Sanho, 2024 WL 3331657, at *2. As in that case, Sarabia’s report here

states that secondary meaning requires first and exclusive use. [ECF No. 74-3 at 18–19]. But

the Court agrees with Plaintiff that this is an incorrect statement of the law, and therefore should

be excluded. See Sanho, 2024 WL 3331657, at *2 (“Based on that two-factor test, Sarabia

concludes that Sanho’s marks have not acquired secondary meaning ‘because Sanho is neither

the exclusive user nor the first user’ of its marks. That conclusion is clearly based on the

application of an incorrect legal standard. And a conclusion based on an incorrect legal standard

is unhelpful and misleading to the jury, and thus inadmissible under both Rules 702 and 403.”)

(cleaned up). Moreover, the risks of prejudice are heightened due to Sarabia’s legal

background—it would be highly prejudicial to Plaintiff to allow an attorney to testify to a jury

using an incorrect standard of law. Id. at *1. The Court therefore DENIES Plaintiff’s motion in

limine to exclude the expert opinion as to Sarabia [ECF No. 71], except with respect to his

testimony about the legal standard for secondary meaning.

                       5.      Robert Griffin Wallace, Jr.

       Defendant’s final expert is Robert Griffin Wallace, Jr. (“Wallace”). [ECF No. 74-5].

Wallace is the managing partner of a branding consultancy. [Id. ¶ 16]. As an expert, he has

designed and fielded more than 75 surveys to determine infringement issues. [Id. ¶ 19]. For this

case, Wallace designed two surveys: one on secondary meaning and the other on the likelihood

                                                 19
      Case 1:23-cv-10233-ADB          Document 133           Filed 05/16/25   Page 20 of 31




of confusion. [Id. ¶ 2]. Plaintiff’s disputes with Wallace’s inclusion speak to the surveys, rather

than to Wallace’s qualifications.

        Both surveys had 400 participants of both genders between 18 and 65 “who have

purchased or been involved in the purchase of casual shoes within the last 12 months and plan to

continue to purchase these products in the next 12 months.” [ECF No. 74-5 ¶¶ 31, 33; id. at 36,

47]. Each showed participants four images of the UGG Ultra Classic Mini boot, including a top

view, a side-top view, the sole, and the back. [Id. ¶ 49].

        The secondary meaning survey asked participants to view images “as if [they] were

shopping for casual shoes” and showed them the images. [ECF No. 74-5 ¶ 49]. It then asked

participants if they believed that the shoe design comes from one source or is a “generic” design.

[Id.] Notably, 49.5% of relevant consumers believed that the images showed a shoe from one

brand or source. [Id. ¶ 50].

        The second survey, about the likelihood of confusion, started similarly to the secondary

meaning survey, but subsequently showed another set of four images of the Primark Tan Faux

Suede Mini boot at roughly the same angles. [ECF No. 74-5 ¶¶ 51–52]. It asked participants if

they believed the shoe was from the same or a different manufacturer as the first. [Id.] The

result was that 38.5% of consumers believed that the Primark shoes came from the same source.

[Id. ¶ 53].

        Plaintiff has two primary critiques of Wallace’s surveys. The first is relevance—

specifically, that his likelihood of confusion survey tested the wrong theory of likelihood of

consumer confusion. [ECF No. 72-1 at 9–14]. Plaintiff, however, has also presented evidence

relevant to multiple theories of consumer confusion. See [ECF No. 74-7 at 83 (de Baere report

addressing all of the factors considered by courts in likelihood of confusion analysis)].

                                                 20
     Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25      Page 21 of 31




Therefore, Defendant can do the same and the jury can then assign the evidence the appropriate

weight. See Girard, 16 F.3d 416, at *2 n.4 (“[A] party has a right to rebut adverse evidence.”).

       The second critique is that Wallace’s methodology for both surveys was unsound. [ECF

No. 72-1 at 16–17]. With regard to both surveys, Plaintiff argues that Wallace’s control images

contain all of the features of the UGG Classic Ultra Mini trade dress. [Id. at 22–23]. The control

cell is therefore, according to Plaintiff, unreliable in removing “noise” from his survey, which

renders his conclusions dubious. [Id. at 22]. Additionally, Plaintiff argues that Wallace uses an

overbroad survey universe. [Id. at 18–21]. This argument mirrors Defendant’s argument about

Ezell, [ECF No. 67 at 10]; while Defendant argues that Ezell’s use of only women interested in

purchasing boots is too narrow, Plaintiff argues that Wallace’s universe of “anyone between

[18 and 65] who has or are planning on purchasing casual shoes” 10 is too broad because the vast

majority of purchasers of the UGG Classic Ultra Mini boot are women. [ECF No. 72-1 at 19].

       Plaintiff also includes critiques specific to the likelihood of confusion survey. One is the

so-called “marketplace context,” which focuses on the images used of the respective boots as

well as the included images of where the boots could purportedly be sold. [ECF No. 72-1 at

23–28]. Specifically, Wallace’s surveys included four pictures of each boot, [ECF No. 74-5 at

38–41], and one of these pictures was of the sole. Notably, the sole is not part of the asserted

trade dress, and indeed Plaintiff has a separate trademark in the sun design on the sole. [Id. at

24]. The use of the picture of a sole, given the fact that the Primark and UGG soles look distinct,

purportedly skewed the survey. [Id. at 24–25]. Finally, Plaintiff questions the format of the




10
   Plaintiff’s argument about the survey universe states that the age range used was 18 to 15; this
is obviously an error, so the Court relies on Wallace’s own statements of what the age range in
the survey was, which was 18 to 65. [ECF No. 74-5 at 36].
                                                21
     Case 1:23-cv-10233-ADB           Document 133        Filed 05/16/25      Page 22 of 31




likelihood of confusion survey; Wallace uses the so-called Squirt method, 11 rather than the Ever-

Ready method preferred by Plaintiff. [Id. at 16–18].

       Although some of these choices in methodology call into question the value of the

surveys, the Court again decides that these concerns go to the weight of the evidence, rather than

its admissibility. Fortune Dynamic, 618 F.3d at 1037–38; see Jordache Enters., Inc. v. Hogg

Wyld, Ltd., 828 F.2d 1482, 1488 (10th Cir. 1987) (holding that “[t]he district court did not err in

giving little weight to the survey results” where the survey did not resemble the true marketplace

(emphasis added)); Rimowa Distrib., 217 F. Supp. 3d at 409–10 (refusing to “dismiss [the

expert’s] results altogether” but not giving them “definitive weight” due to “doubts whether the

participants fairly represent a relevant segment of the consumer market”). Plaintiff’s counsel

will be able to elicit the weaknesses in Wallace’s surveys on cross-examination, and admitting

the surveys is not unduly prejudicial to the Plaintiff. The Court therefore DENIES Plaintiff’s

motion in limine to exclude Wallace [ECF No. 72].

           B.      Summary Judgment

                       1.     Lanham Act Claim

       As discussed supra, the key elements of a Lanham Act claim are the (1) use in commerce,

(2) non-functionality of protected elements, (3) inherent distinctiveness or secondary meaning,

and (4) likelihood of confusion. Annalee Mobilitee Dolls, 2003 WL 22901680, at *9.




11
  The so-called “Squirt” format comes from SquirtCo. v. Seven-Up Co., 628 F.2d 1086, 1089
(8th Cir. 1980). “The ‘Squirt’ format presents a survey respondent with both of the conflicting
marks. [Unlike Ever-Ready, i]t does not assume that the respondent is familiar with the senior
mark. . . . When the conflicting marks are not seen side-by-side in the marketplace, showing the
conflicting marks side-by-side in a survey can skew the results because this does not reflect
actual marketplace conditions.” 5 McCarthy on Trademarks and Unfair Competition §
32:174.50 (5th ed.).
                                                22
     Case 1:23-cv-10233-ADB            Document 133        Filed 05/16/25      Page 23 of 31




Defendant argues that it is entitled to summary judgment because the Ultra Classic Mini Trade

Dress is not used in commerce, [ECF No. 74 at 10–12], the Trade Dress does not have inherent

distinctiveness or secondary meaning, [id. at 15–22], and there is no likelihood of confusion

between its product and the Trade Dress, [id. at 22–29]. See generally [ECF No. 74]. Plaintiff

argues that there are disputes of material fact as to each of these elements. See generally [ECF

No. 89]. The Court evaluates these claims in light of the evidentiary rulings supra.

                               i.      Use in Commerce

       Defendant argues that the Ultra Classic Mini Trade Dress is not used in commerce

because the Trade Dress does not accurately describe the actual UGG Ultra Classic Mini boot. 12

Specifically, citing the Holden and Sarabia reports, it avers that the Trade Dress includes

“exposed tufting” and a “thick, flat sole,” and that these elements are not present in the UGG

Ultra Classic Mini boot. [ECF No. 74 at 13–15]. Plaintiff counters that the overall impression of

the Trade Dress is supported by pictures provided in the complaint, and therefore under the so-

called “anti-dissection rule,” Defendant’s attempts to single out specific elements of the Trade

Dress as not present in the product are insufficient to establish that the Trade Dress is not used in

commerce. [ECF No. 89 at 9–10]. Moreover, Plaintiff produced evidence that the elements

disputed by Defendant are part of the Classic Ultra Mini Trade Dress. [ECF No. 74-8 at 19–28,

44–48 (De Baere rebuttal report discussing these two elements)].

       Plaintiff is correct that Defendant cannot overcome the asserted trade dress claim by

taking the individual elements and arguing that none of them are protectable. See [ECF No. 89

at 10 (citing McCarthy on Trademarks) (emphasis added)]; I.P. Lund Trading ApS v. Kohler



12
  If the Trade Dress does in fact describe the UGG Classic Ultra Mini boot, there is no dispute
that the boot is a commercial product. [ECF No. 90-1 ¶¶ 5, 23].
                                                23
     Case 1:23-cv-10233-ADB            Document 133         Filed 05/16/25      Page 24 of 31




Co., 163 F.3d 27, 39 (1st Cir. 1998) (“The inquiry into distinctiveness turns on the total

appearance of the product, not on individual elements.”). This, however, is distinct from an

argument that the trade dress elements are not present in the commercial product. None of

Plaintiff’s authorities speak to an inaccurately described trade dress. [ECF No. 89 at 10].

Indeed, the accurate identification of the elements of a trade dress are essential to the court’s

analysis. See Cent. Tools, Inc. v. Prods. Eng’g Corp., 936 F. Supp. 58, 65 (D.R.I. 1996) (holding

that, while the “whole visual image” is what “acquire[s] exclusive legal rights as a type of

identifying symbol of origin,” “the discrete elements which make up that totality should be . . .

identified” so that “the court . . . [can] coherently define exactly what the trade dress consists of”

(quoting 1 McCarthy on Trademarks and Unfair Competition §§ 8.01[1][c])).

       Nevertheless, the expert testimony that will be allowed at trial evinces a dispute of

material fact as to whether the asserted elements of the Trade Dress do, in fact, refer to a

particular commercial product, i.e. the Classic Ultra Mini boot. See [ECF Nos. 74-8 at 19–28,

44–48 (de Baere rebuttal report asserting that these elements are present in the Classic Ultra Mini

boot); 74-1 ¶¶ 26–29, 36–40 (Holden report asserting that these elements are not present in the

Classic Ultra Mini boot)]. Therefore, summary judgment on the issue of whether the trade dress

at issue here refers to an actual commercial product is DENIED.

                               ii.     Secondary Meaning

       Defendant argues that there is no competent evidence in the record showing that the

Classic Ultra Mini Trade Dress has acquired secondary meaning sufficient to show that it is

distinctive. [ECF No. 74 at 15–22]. Plaintiff argues that there is at least a dispute of material

fact about this issue. [ECF No. 89 at 12–17].




                                                  24
     Case 1:23-cv-10233-ADB             Document 133         Filed 05/16/25       Page 25 of 31




        “When a party seeks protection for an unregistered trademark, it is incumbent on that

party to demonstrate affirmatively that its mark is distinctive (either inherently or through

acquired secondary meaning).” Borinquen Biscuit Corp., 443 F.3d at 117. Specifically, “[i]n a

product-design case, the plaintiff must prove that the design has acquired ‘secondary meaning.’”

Bern Unlimited, Inc., 95 F. Supp. 3d at 205. In the First Circuit, “secondary meaning” refers to a

mark’s “ability to tell the public that the [mark] . . . serves a special trademark function, namely,

that it denotes a product or service that comes from a particular source.” Nucleus Rsch. Inc. v.

3Sixty Insights Inc., No. 22-cv-11339, 2024 WL 4011987, at *2 (D. Mass. July 30, 2024)

(quoting Bos. Beer Co. Ltd. P’ship v. Slesar Bros. Brewing Co., 9 F.3d 175, 181 (1st Cir. 1993)).

“Among the factors courts generally look to in determining whether a term has acquired

secondary meaning are (1) the length or exclusivity of use of a mark; (2) the size or prominence

of the plaintiff’s enterprise; (3) the existence of substantial advertising by plaintiff; (4) the

product’s established place in the market; and (5) proof of intentional copying.” Bay State Sav.

Bank v. Baystate Fin. Servs., 484 F. Supp. 2d 205, 214 (D. Mass. 2007).

        “In [Yankee Candle Co. v. Bridgewater Candle Co., 259 F.3d 25 (1st Cir. 2001)], the

First Circuit determined that the only direct evidence for secondary meaning is a consumer

survey.” Genesis Strategies, Inc. v. Pitney Bowes, Inc., 50 F. Supp. 3d 59, 65 (D. Mass.

2014), on reconsideration in part, No. 11-cv-12270, 2014 WL 4292830 (D. Mass. Aug. 27,

2014). In such surveys, “50% or more of the consuming public associat[ing] a mark with the

company’s products” is typically viewed as the threshold for the establishment of secondary

meaning. Id. (quoting Bay State Sav. Bank, 484 F. Supp. 2d at 217). This evidence is provided

by Plaintiff via the expert testimony of Ezell, who concluded that 73% of the relevant survey




                                                   25
     Case 1:23-cv-10233-ADB           Document 133         Filed 05/16/25      Page 26 of 31




universe “associate the appearance of the Classic Ultra Mini boot with UGG or a single

anonymous source.” [ECF No. 89-1 at 9].

       Defendant argues that the survey taken by Ezell is so flawed that it does not provide

competent evidence of secondary meaning. [ECF No. 74 at 16–17]. As discussed supra, while

Defendant may have valid critiques of the methodologies going to the weight that Ezell’s surveys

should be afforded, the survey ultimately does sufficiently test secondary meaning. Contra

Genesis Strategies, 50 F. Supp. 3d at 66 (holding that the survey was not competent evidence of

secondary meaning where the expert “was unsure if the survey addressed secondary meaning

because he did not know what it was” and “the survey only questioned existing customers who

are already familiar with Plaintiff’s product”). The Court therefore declines to find that “a fact

finder could not rely on it to answer the question of whether consumers associate the

aforementioned features . . . with a single source.” Id. The validity of Defendant’s experts’

critiques and the weight the survey ought to be provided will be determined at trial.

       Moreover, secondary meaning can be established through indirect evidence. Yankee

Candle, 259 F.3d at 43 (“Secondary meaning may also be proven through circumstantial

evidence, specifically the length and manner of the use of the trade dress, the nature and extent

of advertising and promotion of the trade dress, and the efforts made to promote a conscious

connection by the public between the trade dress and the product’s source.”). Defendant argues

that, as was the case in Yankee Candle, Plaintiff has not demonstrated “a conscious connection

by the public between the claimed trade dress and the product’s source.” [ECF No. 74 at 18].

As an example, it claims that Plaintiff has not done so-called “look-for” advertising, which goes

beyond “featuring” the product in advertising and specifically directs a consumer’s attention to a

particular aspect of a product. [Id. at 19–20].

                                                  26
     Case 1:23-cv-10233-ADB            Document 133          Filed 05/16/25      Page 27 of 31




        Plaintiff has presented evidence that the UGG Classic Ultra Mini boot has been sold since

at least 2020, as well as evidence of sales and revenues earned, advertising campaigns and

celebrity collaborations. [ECF No. 89-5 at 17, 59, 67]. While Defendant is correct that Yankee

Candle stands for the proposition that this alone is probably insufficient to support a finding of

secondary meaning, 259 F.3d at 44–45, when combined with Plaintiff’s direct survey evidence,

there is a material dispute of fact as to whether Plaintiff has established secondary meaning.

        Summary judgment is therefore DENIED as to secondary meaning.

                                iii.    Likelihood of Confusion

        Defendant argues that there is no likelihood of consumer confusion as a matter of law.

Plaintiff responds that there is at least a dispute of material fact with respect to a likelihood of

confusion.

        The First Circuit has interpreted “likely to cause consumer confusion” to mean “more

than the theoretical possibility of confusion.” Bos. Duck Tours, LP v. Super Duck Tours, LLC,

531 F.3d 1, 12 (1st Cir. 2008) (quoting International Association of Machinists v. Winship Green

Nursing Ctr., 103 F.3d 196, 200 (1st Cir.1996)); see Peoples Fed. Sav. Bank v. People’s United

Bank, 672 F.3d 1, 9–10 (1st Cir. 2012) (same). “In other words, allegedly infringing conduct

must create ‘a likelihood of confounding an appreciable number of reasonably prudent

purchasers exercising ordinary care.’” Bos. Duck Tours, 531 F.3d at 12 (quoting Winship Green

Nursing Ctr., 103 F.3d at 201). The reasonably prudent purchaser is not limited to the actual or

potential buyer of the product, but also includes “persons in a position to influence the

purchasing decision or persons whose confusion presents a significant risk to the sales, goodwill,

or reputation of the trademark owner.” Beacon Mut. Ins. Co. v. OneBeacon Ins. Grp., 376 F.3d

8, 11 (1st Cir. 2004) (“[L]ikelihood of confusion inquiry . . . includes others whose confusion

                                                  27
     Case 1:23-cv-10233-ADB            Document 133         Filed 05/16/25       Page 28 of 31




threatens the trademark owner’s commercial interest in its mark.”). Courts in the First Circuit

consider a non-exhaustive list of factors, called the “Pignons” factors, to assess the likelihood of

confusion:

       (1) the similarity of the marks; (2) the similarity of the goods (or, in a service mark
       case, the services); (3) the relationship between the parties’ channels of trade; (4) the
       juxtaposition of their advertising; (5) the classes of prospective purchasers; (6) the
       evidence of actual confusion; (7) the defendant’s intent in adopting its allegedly
       infringing mark; and (8) the strength of the plaintiff’s mark.

Shell Co. (P.R.) v. Los Frailes Serv. Station, 605 F.3d 10, 22 & n.9 (1st Cir. 2010) (quoting

Winship Green Nursing Ctr., 103 F.3d at 201); see Pignons S. A. de Mecanique v. Polaroid

Corp., 657 F.2d 482, 487 (1st Cir. 1981) (same). The inquiry is “highly fact-intensive.” Shell

Co., 605 F.3d at 22.

       As to the first two factors, Defendant argues that individual elements of the Asserted

Trade Dress and the Tan Faux Suede Mini Boot are different, and that this factor therefore

weighs against likelihood of confusion. [ECF No. 74 at 24–26]. As Defendant notes, however,

“[w]hen examining similarity, the Court must consider ‘the total effect of the designation, rather

than a comparison of individual features.’” [Id. at 24 (quoting Pignons, 657 F.2d at 487)]. The

“total effect” cannot be determined at summary judgment and should be left to the jury. See

Mark Bric Display Corp. v. Joseph Struhl Co., No. 98-cv-00532, 2003 WL 21696318, at *13

(D.R.I. July 9, 2003) (“[B]ecause ‘similarity’ of the dress is determined by the total effect of the

designation, and not the individual aspects, this Court finds that there is at least a question of fact

as to whether the total effect of the [junior product] could contribute to a likelihood of confusion

with the [senior product].”).




                                                  28
     Case 1:23-cv-10233-ADB            Document 133          Filed 05/16/25       Page 29 of 31




       As to the third, fourth, and fifth factors, 13 the parties have at least raised disputes of

material fact as to how Primark’s products are advertised and whether the classes of purchasers

are the same. Defendant has, at the very least, established that it only sells its own goods in

stores, and likewise that its goods are only sold in stores. [ECF No. 70-2 at 11:21–24, 64:21–

23]. On the other hand, Plaintiff has presented evidence that the Parties have similar customer

bases and advertising mediums. [ECF No. 74-7 at 85–86]. Therefore, the Court cannot come to

a conclusion as a matter of law on these factors.

       As to the sixth factor, Plaintiff has provided survey evidence of actual confusion.

Defendant argues, as it did with the secondary meaning survey, that this evidence is not

competent. [ECF No. 74 at 27–28]. The Court again concludes that, as discussed supra,

Defendant’s arguments speak to the weight the factfinder ought to give the survey, rather than its

competence. Therefore, there is a dispute of material fact as to whether the parties have

established actual confusion.

       As to the seventh factor, Plaintiff has provided expert evidence that the design of

Defendant’s shoe could have no other purpose than intent to copy. [ECF No. 89-5 at 9].

Defendant disputes this by claiming that “[m]ere knowledge of the existence of a competitor’s

mark is insufficient to prove bad faith.” [ECF No. 74 at 28 (internal quotations omitted)]. This,

however, mischaracterizes Plaintiff’s argument and de Baere’s findings. Rather, it is her

opinion, based on her expertise in footwear design, that the nature of the design itself evinces an

intent to copy because there could be no other reason for Defendant’s design choices. [ECF No.

74-7 at 88–89]. Whether this view carries the day will be left to the jury.



13
 These factors are often considered together “because they tend to be interrelated.” Beacon
Mut. Ins. Co., 376 F.3d at 19.
                                              29
      Case 1:23-cv-10233-ADB          Document 133         Filed 05/16/25      Page 30 of 31




       Finally, Defendant argues that the mark has no strength because the Asserted Trade Dress

does not refer to an actual commercial product. [ECF No. 74 at 28]. As this turns on an issue

the Court has already determined should be left to the jury, it likewise will not make that

determination here.

       The Court notes that Plaintiff claims it is pressing a theory of post-sale confusion, under

which the Pignons factors are weighed differently. [ECF No. 89 at 18–19]. While it is true that

“[a]n action for trademark infringement under the Lanham Act may be based on post-sale

confusion of consumers other than direct purchasers,” Montblanc-Simplo GmbH v. Staples, Inc.,

172 F. Supp. 2d 231, 243 (D. Mass. 2001), preliminary injunction vacated, 175 F. Supp. 2d 95

(D. Mass. 2001), this is not a distinct analysis under the Pignons factors but is just one theory

regarding the likelihood of confusion. Because the Court finds questions of material fact as to all

Pignons factors, it need not weigh them.

       The Court therefore DENIES summary judgment on likelihood of confusion, and

likewise DENIES summary judgment on the Lanham Act claim generally.

                       2.      State Law Claims

       Because all of the state law claims arise under the same theory as the Lanham Act claim,

see supra, summary judgment is likewise DENIED on Counts II–IV.

IV.    CONCLUSION

       The parties’ respective motions in limine are DENIED, except with respect to de Baere’s

ultimate conclusion about infringement and channels of trade and Sarabia’s testimony about the

legal standard for secondary meaning, which are GRANTED. Defendant’s motion for summary




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     Case 1:23-cv-10233-ADB         Document 133       Filed 05/16/25    Page 31 of 31




judgment [ECF No. 73] is DENIED and the parties will proceed to trial.

       SO ORDERED.

May 16, 2025                                              /s/ Allison D. Burroughs
                                                          ALLISON D. BURROUGHS
                                                          U.S. DISTRICT JUDGE




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